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‘/“ men ev ... °'°` UNITED sTATEs DISTRICT coUR'r stan sui§i p§-_
“ m. us WESTERN DISTRICT OF TENNESSEE "` '
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MMWING COVINGTON § CIVIL ACTION NO. 054-tibuth 3. fm
_,§:“ _ CI_Er,\' f 8 "tJ"f»§""[
woft wis Plamtiff, § wyo o." y§ .. §§§§§Um`§
v. §
MEMPHIS PUBLISHING COMPANY ) MOTION FOR EXTENSION OF
) TIME FOR FILING OF ANSWER
) 'I`O COMPLAINT
Det`eodants )

COMES NOW, Memphis Publishing Company, d/b/a The Commercial Appeal
(MPC), pursuant to Federal Rule of Civil Procedure 7, With this Motion for Extension of
Time to file Answer in CiVil Action No 05-2474DV.

On July 5, Shirley Downing Covington filed, with this court, Civil Acticn No. 05~
2474DV. Said action Was served on defendant on July 8, 2005, setting a due date for the
answer of July 28, 2005.

By agreement With plaintiff’ s counsel, said deadline has been extended until
Monday, August 29, 2005.

Defendant Memphis Publishing Company respectftu requests that the court grant

this motion.
Respectfully submitted,

éc)@~s¥ /. x;“,»e/ Mo'rloN GRANT;n
Warren C. Funk (TN BPR No. 6947) §
Counsel for the Memphis Publisbing Company
495 Union Avenue, Memphis, TN 38103

Tclephone 901/529-2631; fax 901/529-2618 ERN|CE POU|E DONALD
_ U.S. DISTRICT JUDGE

 

 
  

This document entered on the docket _
with Hu|e 58 and/or 79(a) FRCP on

Case 2:05-cv-O2474-BBD-dkv Document 4 Filed 07/20/05 Page 2 of 3 Page|D 2

CERTIFICATE OF SERVICE

 

I, Warren C. Funk, hereby certify that a true and correct copy of this foregoing
Motion for Extension of Time for Filing of Answer to Complaint was served on the

.re
ZO_"_day of July, 2005:

Via Hand Delivery To:

Ms. Kathleen Caldwell
2080 Peabody Avenue
Memphis, TN 38104

Warren C. Funk

TN BPR No. 6947

Cou;nsel for Memphis Publishing Company
495 Union Avenue, Memphis, TN 38103
Telephone 901/529-2631; fax 901/529-2618

 

   

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Notice of Distribution

This notice confirms a copy of the document docketed as number 4 in
case 2:05-CV-02474 Was distributed by faX, mail, or direct printing on
July 21, 2005 to the parties listed.

 

 

Kathleen L. Caldwell

LAW OFFICE OF KATHLEEN L. CALDWELL
2080 Peabody Ave.

Memphis7 TN 38104

Warren C. Funk

h/[El\/[PH[S PUBLISHING CO.7 INC.
495 Union Ave.

Memphis7 TN 39103

Honorable Bernice Donald
US DISTRICT COURT

